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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF KENTUCKY

LEILA MARY,                         )               CASE NO.:
                                    )
            Plaintiff,              )
                                    )
v.                                  )
                                    )
CREDIT SOLUTIONS, LLC,              )               NOTICE OF REMOVAL
                                    )
            Defendant.              )
____________________________________)

       Now comes Defendant Credit Solutions, LLC, pursuant to 28 U.S.C. §§ 1331, 1367,

1441, and 15 U.S.C. § 1692k, and files this Notice of Removal, and in support hereof sets forth

the following grounds:

       1.     On or after October 4, 2010, Defendant was served with Plaintiff’s Complaint, a
              copy of which is attached hereto, in an action entitled Leila Mary v. Credit
              Solutions, LLC, filed of record with the Clerk of the Kenton District Court,
              Commonwealth of Kentucky, Case No. 10-C-3844.

       2.     Plaintiff’s Complaint purports to set forth a cause of action under the Fair Debt
              Collection Practices Act, 15 U.S.C. §§ 1692 et seq.

       3.     This Court has original jurisdiction over Plaintiff’s cause of action based on 15
              U.S.C. §§ 1692, et seq., as set forth in 28 U.S.C. § 1331 and 15 U.S.C. §
              1692k(d). Pursuant to 28 U.S.C. § 1441, therefore, the civil action pending in the
              Kenton District Court, Commonwealth of Kentucky, is removable to this Court.

       4.     Defendant will file its Answer to Plaintiff’s Complaint with the United States
              District Court for the Eastern District of Kentucky.

       5.     Copies of all process, pleadings and orders served upon Defendant Credit
              Solutions, LLC in this action are attached hereto.

       6.     Thirty (30) days have not yet expired since receipt of Plaintiff’s Complaint.
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       7.      Defendant has provided written notice of the filing of this Notice of Removal to
               Plaintiff by ordinary mail on this date and has also forwarded a Notice for filing
               with the Clerk of the Kenton District Court, Commonwealth of Kentucky,
               regarding this Notice of Removal.

       WHEREFORE, Defendant prays that the above-captioned action now pending in the

Kenton District Court, Commonwealth of Kentucky, be removed therefrom and placed on the

regular docket of the United States District Court for the Eastern District of Kentucky.


                                             Respectfully submitted,


                                             /s/Boyd W. Gentry
                                             Boyd W. Gentry (KY# 88625)
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                                             Trial Attorney for Defendant




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served via U.S. mail to

the following on October 21, 2010:

John W. Foote, Esq.
36 West Fifth Street
Covington, KY 41011




                                            /s/Boyd W. Gentry
                                            Boyd W. Gentry (KY# 88625)
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                                            Trial Attorney for Defendant




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